
894 N.E.2d 538 (2008)
In the Matter of Laura N. BERGMANN, Respondent.
No. 45S00-0707-DI-279.
Supreme Court of Indiana.
May 16, 2008.

ORDER APPROVING STATEMENT OF CIRCUMSTANCES AND CONDITIONAL AGREEMENT FOR DISCIPLINE AND IMPOSING PRIVATE REPRIMAND
This case comes before the Court upon the "Statement of Circumstances and Conditional Agreement for Discipline" filed by the Indiana Supreme Court Disciplinary Commission and Respondent, and submitted for final approval pursuant to Indiana Admission and Discipline Rule 23(11)(c). The parties agree that Respondent engaged in misconduct and that a private reprimand is an appropriate sanction for the misconduct. Upon review of all matters presented, the Court now finds that Respondent engaged in attorney misconduct in violation of the Rules of Professional Conduct and that a private reprimand is an appropriate discipline for Respondent's misconduct in this case.
IT IS THEREFORE ORDERED that Respondent be given a private reprimand for the violations of the Rules of Professional Conduct in this case. With the acceptance of this agreement, the hearing officer appointed in this case is discharged.
Costs of this proceeding are assessed against Respondent.
The Court directs the Clerk to forward a copy of this Order to the hearing officer, to Respondent or Respondent's attorney, and to the Indiana Supreme Court Disciplinary Commission.
All Justices concur.
